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              UNITED STATES DISTRICT COURT
       NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

LEANDER CARTER,                       )
MICHAEL BRENT,                        )
WILLIE JOHNSON,                       )
CHARLES KIDD,                         )
STANLEY MILLER,                       )
OSCAR PATTON,                         )
CARL ROGERS,                          )
JOE SHERROD,                          )
JOHN THEIS,                           )
PASCUAL VIDEGARAY,                    )
LUIS VILLAVICENCIO-SE,                )
JASON WARD,                           )
EDWARD HARRIS,                        )
DELMAR GRAY,                          )
DENNIS McARDLE,                       )
BLACKIE VEACH,                        )
HAROLD OLIVER,                        )
NICHOLAS ANDREWS,                     )
CHRISTOPHER ALEXANDER,                )
BRAYONE MURFF,                        )
and                                   )
CARLOS JENKINS                        )
                                      )
vs.                                   )
                                      )
WEXFORD HEALTH SOURCES, INC.,         )
ALFONSO DAVID, M.D.,                  )
ANDREW TILDEN M.D.,                   )
JOHN TROST, M.D.,                     )
KUL SOOD, M.D.,                       )
ARTHUR FUNK, M.D.,                    )
SHERRI LYNN,                          )
LOUIS SHICKER, M.D.                   )
MICHAEL PUISIS, M.D.                  )
UNKNOWN DOCTORS                       )
     (JANE/JOE DOES 1-10)             )
UNKNOWN MEDICAL DIRECTORS             )
     (JANE/JOE DOES 11-15)            )
UNKNOWN HEALTHCARE                    )
UNIT ADMINISTRATORS                   )

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      (JANE/JOE DOES 16-20)                  )
and                                          )
UNKNOWN WEXFORD EMPLOYEES                    )
    (JANE/JOE DOES 21-25)                    )

                                   COMPLAINT

      Plaintiffs Leander Carter, Michael Brent, Willie Johnson, Charles Kidd,

Stanley Miller, Oscar Patton, Carl Rogers, Joe Sherrod, John Theis, Pascual

Videgaray, Luis Villavicencio-Se, Jason Ward, Edward Harris, Delmar Gray,

Dennis McArdle, Blackie Veach, Harold Oliver, Nicholas Andrews, Christopher

Alexander, Brayone Murff, and Carlos Jenkins through their attorneys, Muldoon &

Muldoon, LLC as their Complaint under the Civil Rights Act, Title 42, Section 1983

of the United States Code, against defendants Wexford Health Sources, Inc.

(“Wexford”), Alfonso David, M.D. (“David”) Andrew Tilden M.D. (“Tilden”). John

Trost, M.D., (“Trost”) Kul Sood, M.D., (“Sood”), Arthur Funk, M.D., (“Funk”), Sherri

Lynn (“Lynn”), Louis Shicker M.D. (“Shicker”), Michael Puisis M.D. (“Puisis”)

Unknown Doctors (Jane/Joe Does 1-10), Unknown Medical Directors (Jane/Joe Does

11-15), Unknown Healthcare Unit Administrators (Jane/Joe Does 15-20) Unknown

Wexford Employees (Jane/Joe Does 21-25) (collectively, “Defendants”), state as

follows:


                                  THE PARTIES

1.    Plaintiff Leander Carter, is a state prisoner who has been incarcerated at the

Shawnee Correctional Center (“Shawnee”) in Shawnee, Illinois with an inmate

number of #B09162.



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2.    Plaintiff Michael Brent, is a state prisoner who has been incarcerated at the

Pontiac Correctional Center (“Pontiac”) in Pontiac, Illinois with an inmate number

of # B04680.

3.    Plaintiff Willie Johnson, is a state prisoner who has been incarcerated at

Pontiac, with an inmate number of #B16884.

4.    Plaintiff Charles Kidd, is a state prisoner who has been incarcerated at

Pontiac, with an inmate number of #N33990.

5.    Plaintiff Stanley Miller, is a state prisoner who has been incarcerated at

Pontiac, with an inmate number of #R25189.

6.    Plaintiff Oscar Patton, is a state prisoner who has been incarcerated at

Pontiac, with an inmate number of #B71273.

7.    Plaintiff Carl Rogers, is a state prisoner who has been incarcerated at

Pontiac, with an inmate number of #N62675.

8.    Plaintiff Joe Sherrod, is a state prisoner who has been incarcerated at

Pontiac, with an inmate number of #N13582.

9.    Plaintiff John Theis, is a state prisoner who has been incarcerated at Pontiac,

with an inmate number of #M06139.

10.   Plaintiff Pascual Videgaray, is a state prisoner who has been incarcerated at

Pontiac, with an inmate number of #R32653.

11.   Plaintiff Luis Villavicencio-se, is a state prisoner who has been incarcerated

at Pontiac, with an inmate number of #M29511.

12.   Plaintiff Jason Ward, is a state prisoner who has been incarcerated at


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Pontiac, with an inmate number of #R05780.

13.   Plaintiff Edward Harris, is a state prisoner who has been incarcerated at

Pontiac, with an inmate number of #M02719.

14.   Plaintiff Delmar Gray, is a state prisoner who has been incarcerated at

Pontiac, with an inmate number of #B51265.

15.   Plaintiff Dennis McArdle, is a state prisoner who has been incarcerated at

Pontiac, with an inmate number of #K79627.

16.   Plaintiff Blackie Veach, is a state prisoner who has been incarcerated at

Pontiac, with an inmate number of #S14810.

17.   Plaintiff Harold Oliver, is a state prisoner who has been incarcerated at

Pontiac, with an inmate number of #A15828

18.   Plaintiff Nicholas Andrews, is a state prisoner who has been incarcerated at

Menard, with an inmate number of #B82197.

19.   Plaintiff Christopher Alexander, is a state prisoner who has been

incarcerated at both Pontiac and the Menard Correctional Center (“Menard”) in

Menard, Illinois with an inmate number of #B80710.

20.   Plaintiff Brayone Murff, is a state prisoner who has been incarcerated at the

Lincoln Correctional Center (“Lincoln”) in Lincoln, Illinois with an inmate number

of #M30332.

21.   Plaintiff Carlos Jenkins, is a state prisoner who has been incarcerated at the

Hill Correctional Center (“Hill”) in Galesburg, Illinois with an inmate number of

#K59498.


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22.     Defendant Wexford is a private company that provides medical services,

under contract with the Illinois Department of Corrections (“IDOC”), for prisoners

at various correctional facilities, including Shawnee, Pontiac, Menard, Lincoln and

Hill.

23.     At all times relevant to this case, Wexford had primary responsibility for

providing medical services at Shawnee, Pontiac, Menard, Lincoln and Hill.

24.     Defendant Arthur Funk, M.D. at relevant times was Wexford’s Regional

Medical Director for the Northern Region of Illinois. He is capable of and is hereby

being sued in this Court in his individual capacity.

25.     On information and belief, Unknown Wexford Employees (Jane/Joe Does 21-

25) (Wexford and Funk are herein referred to as the “Wexford Defendants”) were at

relevant times lawfully appointed, empowered and acting in the capacity of the

Wexford employees. The Wexford Defendants are capable of and are hereby being

sued in this Court in their individual capacity.

26.     Defendant, Alfonso David, M.D. is and was at relevant times ,a physician duly

licensed to practice his profession in the State of Illinois and,based upon

information and belief,was employed by Wexford to render medical services to

prisoners at Shawnee Correctional Center located at Vienna, Illinois. He is capable

of and is hereby being sued in this Court in his individual capacity.

27.     Defendant, Sherri Lynn is and was at relevant times lawfully appointed to

act in the capacity as the Healthcare Unit Administrator of the at Shawnee




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Correctional Center located at Vienna, Illinois. She is capable of and is hereby being

sued in this Court in her individual capacity.

28.   Defendant, Andrew Tilden M.D. is and was at relevant times a physician

duly licensed to practice his profession in the State of Illinois and, based upon

information and belief,was employed by Wexford to render medical services to

prisoners at Pontiac Correctional Center located at Pontiac, Illinois. He is capable of

and is hereby being sued in this Court in his individual capacity.

29.   Defendant, John Trost, M.D. is and was at relevant times, a physician duly

licensed to practice his profession in the State of Illinois and,based upon

information and belief,was employed by Wexford to render medical services to

prisoners at Menard Correctional Center located at Menard, Illinois. He is capable

of and is hereby being sued in this Court in his individual capacity.

30.   Defendant, Kul Sood, M.D. is and was at relevant times a physician duly

licensed to practice his profession in the State of Illinois and, based upon

information and belief,was employed by Wexford to render medical services to

prisoners at Hill Correctional Center located at Galesburg, Illinois. He is capable of

and is hereby being sued in this Court in his individual capacity.

31.   Defendant, Louis Shicker, is and was at relevant times a physician duly

licensed to practice his profession in the State of Illinois and lawfully appointed,

empowered and acting in the capacity of the Agency Medical Director of the IDOC in

Chicago, Illinois. He is capable of and is hereby being sued in this Court in his

individual capacity.



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32.   Defendant,Michael Puisis, M.D. is and was at relevant times a physician duly

licensed to practice his profession in the State of Illinois and lawfully appointed,

empowered and acting in the capacity of the Agency Medical Director of the IDOC in

Chicago, Illinois. He is capable of and is hereby being sued in this Court in his

individual capacity.

33.   On information and belief, Unknown Doctors (Jane/Joe Does 1-10) were at

relevant times physicians duly licensed to practice their profession in the State of

Illinois and,based upon information and belief, were employed by Wexford Health

Sources to render medical services to prisoners at Shawnee, Pontiac, Menard,

Lincoln and/or Hill and are hereby being sued in this Court in their individual

capacity. (David, Tilden, Trost, Sood and the Unknown Doctors are referred herein

as the “Doctor Defendants.”)

34.   On information and belief, Unknown Medical Directors (Jane/Joe Does 11-15)

were at relevant times lawfully appointed, empowered and acting in the capacity of

the Agency Medical Director of the IDOC in Chicago, Illinois. They are capable of

and are hereby being sued in this Court in their individual capacity. (Shicker,

Puisis and the Unknown Medical Directors are referred herein as the “Medical

Director Defendants.”)

35.   On information and belief, Unknown Healthcare Unit Administrators

(Jane/Joe Does 11-15) were at relevant times lawfully appointed to act in the

capacity as the Healthcare Unit Administrator of the at Shawnee, Pontiac, Menard,

Lincoln and/or Hill and are hereby being sued in this Court in their individual



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capacity. (Lynn and the Unknown Healthcare Unit Administrators are referred

herein as the “Healthcare Unit Administrators Defendants.”)

                            JURISDICTION AND VENUE

36.   This is a civil rights action to redress the deprivation under color of state law

of rights, privileges and immunities secured to plaintiffs by the Eighth Amendment

of the United States Constitution and 42 U.S.C. § 1983.

37.   This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343(a)(3) and (4),

The asserted rights and interests of each plaintiff exceed seventy-five thousand

dollars ($75,000.00) exclusive of interest and costs.

38.   This action properly lies within this judicial district under the provisions of

28 U.S.C. §§ 1391(b).

                              FACTUAL BACKGROUND

                All Plaintiffs Suffer from Untreated Inguinal Hernias


39.   All plaintiffs are incarcerated in the IDOC.

40.   All plaintiffs have suffered and continue to suffer from pain and limitations

in their activities of daily living due to inguinal hernias.

41.   Their hernias restrict the flow of blood to their penises, painfully restrict the

flow of their urination, cause them excruciating pain when coughing or sneezing,

cause excruciating pain in their testicles, and significantly restrict both their

normal daily activities and their ability to strenuously exercise, which is

detrimental to their overall health.

42.   All plaintiffs have complained to one or more of the defendants of the pain


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and limitations in their activities of daily living due their inguinal hernias.

43.     Medical experts state that “[a]lmost all groin hernias should be surgically

repaired. When the potential complications of incarceration and strangulation are

weighed against the minimal risks of hernia repair (particularly when local

anesthesia is used), the early repair of groin hernias is clearly justified.” Surgical

Options in the Management of Groin Hernias, American Family Physician (Jan. 1,

1999)

44.     However, despite having actual knowledge that surgical repair is the

standard treatment for a hernia that continues to grow larger, restricts regular

movement and causes extreme pain; defendants have been and continue to be

deliberately indifferent to plaintiffs’ medical condition by pursuing a course of

treatment that they know is ineffective, thereby sacrificing the health of plaintiffs.

45.     Defendants, with deliberate indifference to plaintiffs’ physical pain and

suffering, have systematically denied plaintiffs a relatively inexpensive and

necessary surgical procedure to repair their hernias.

46.     In fact, after having been previously found to be deliberately indifferent to

the pain and suffering on another inmate’s pain and suffering due to an inguinal

hernia by a jury in the U.S. District Court for the Northern District of Illinois;

defendants persist in perpetuating their unconstitutional policy of denying plaintiffs

a relatively inexpensive and necessary surgical procedure to repair their hernias.

(Heard v. Wexford Health Sources NDIL Docket # 06-CV-00644 “Heard trial”)




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47.    In denying plaintiffs’ surgery, defendants have ignored the competent

professional medical evidence presented at the Heard trial that surgical repair of

such hernias is the proper standard of care.

48.    Defendants denials of proper surgical care of all plaintiffs, with the exception

of plaintiff Videgaray, continues through the filing of this complaint.

           Wexford’s Cost-Cutting Policy Violates the Eighth Amendment

49.    In this case, medical professionals, charged with providing medical care to

inmates of the IDOC, regularly and systematically deprived plaintiffs of needed

surgery for their hernias.

50.    Defendant have ignored sound medical practices in favor of cost-saving

policies created by Wexford and its employees and implemented by Defendant

Doctors, Defendant Medical Administrators and Defendant Healthcare Unit

Administrators.

51.    Wexford is the medical services provider to inmates in IDOC facilities.

52.    Wexford’s agreement with IDOC allows for only surgical 216 hospital

referrals per year.

53.    For each surgical referral in excess of this amount, Wexford’s monthly

compensation payments are reduced by an amount equal to what the State pays out

for hospital services.

54.    In order to maintain its monthly compensation payments, Wexford instituted

cost-cutting policies.




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55.   One such cost-cutting policy provides that surgical repair of an inguinal

hernia is not approved the unless the hernia is incarcerated or strangulated; i.e.

until the hernia was life-threatening.

56.   Under Wexford’ s policy, the cost of such surgical repair is outweighed by the

risk of any such surgery.

57.   Wexford’s policy ignores the risks of not performing hernia-repair surgery for

non-incarcerated or strangulated hernias i.e. that the hernia will become

incarcerated or strangulated and life-threatening.

58.   Wexford’s policy, condoned and implemented by Defendant Doctors,

Defendant Medical Administrators and Defendant Healthcare Unit Administrators,

flies in the face of commonly accepted medical wisdom and standard of care, which

provide that:

      a. the risks of hernia-repair surgery are minimal for all but a select few

          patients;

      b. the risk of not performing hernia-repair surgery is that a simple hernia

          will become incarcerated or strangulated; and

      c. surgical repair is the only long-term medical solution for hernias.

59.   In order to reduce costs and increase profits, Wexford Defendants, assisted by

the Healthcare Unit Administrators Defendants, have and continue to act in concert

with the Doctor Defendants and the Medical Director Defendants adhere to a policy

against providing surgery for prisoners whose hernias are not strangulated

regardless of the degree of pain, anxiety or incapacity a plaintiff endures.



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60.     This policy maintained by Defendants has led to plaintiffs being deprived of

constitutionally appropriate medical care.

61.     Defendants actions, i.e. putting money before the medical needs of the people

entrusted to their care, are shocking to the conscience and constitute cruel and

unusual punishment under the Eighth Amendment to the United States

Constitution.

62.     Due to the Defendants’ willful, knowing and deliberate indifference, plaintiffs

have suffered extensive pain, for which they seek recompense in this lawsuit.

                                      COUNT I
            (Against Shicker, Puisis and the Unknown Medical Directors)
                          Cruel and Unusual Punishment

63.     Plaintiffs adopt herein by reference the allegations contained in paragraphs

1-62.

64.     The purpose of Section 1983 is to deter state actors, and private individuals

in collaboration with state officials, from using a “badge of authority” to deprive

individuals of rights guaranteed by the Constitution.

65.     Under Section 1983, governmental immunity is to be denied, and

compensatory damages awarded, when a state actor or collaborating private citizen

has acted with either an impermissible motivation or with such disregard of the

person’s clearly established constitutional rights that such action cannot reasonably

be characterized as being in good faith.

66.     Defendants Shicker, Puisis and the Unknown Medical Directors’ behavior is

sufficiently outrageous as to shock the conscience.



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67.     Indeed, Defendants Shicker, Puisis and the Unknown Medical Directors

denied Plaintiffs’ appeals for surgical repair of their hernias.

68.     Defendants Shicker, Puisis and the Unknown Medical Directors denied

plaintiffs’ surgeries for cost-cutting reasons that had no relationship to professional

medical judgment.

69.     Defendants Shicker, Puisis and the Unknown Medical Directors’ actions

caused plaintiffs to suffer needless pain and mental anguish.

WHEREFORE, Plaintiffs pray that this Court enter judgment in their favor and

against the defendants Shicker, Puisis and the Unknown Medical Directors in an

amount to be determined at trial, plus exemplary and punitive damages, costs,

reasonable attorney’s fees and for such other and further relief as this court deems

proper.

                                    COUNT II
           (Against Wexford, Funk and the Unknown Wexford Employees)
                          Cruel and Unusual Punishment

70.     Plaintiffs adopt herein by reference the allegations contained in paragraphs

1-69.

71.     The purpose of Section 1983 is to deter state actors, and private individuals

in collaboration with state officials, from using a “badge of authority” to deprive

individuals of rights guaranteed by the Constitution.

72.     Under Section 1983, governmental immunity is to be denied, and

compensatory damages awarded, when a state actor or collaborating private citizen

has acted with either an impermissible motivation or with such disregard of the



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person’s clearly established constitutional rights that such action cannot reasonably

be characterized as being in good faith.

73.   A corporate defendant violates Section 1983 if, acting under color of state

law, it maintains a policy that sanctions the maintenance of prison conditions that

infringe upon the constitutional rights of the prisoners.

74.   Defendants Wexford, Funk and the Unknown Wexford Employees

maintained and implemented a cost-cutting policy that ensured that plaintiffs

would not receive a relatively inexpensive surgical repair, regardless of the pain

and suffering caused by such hernias, unless the hernias were incarcerated or

strangulated.

75.   Defendants Wexford, Funk and the Unknown Wexford Employees’ behavior

is sufficiently outrageous as to shock the conscience.

76.   Indeed, Defendants Wexford, Funk and the Unknown Wexford Employees

denied Plaintiffs’ appeals for surgical repair of their hernias.

77.   Defendants Wexford, Funk and the Unknown Wexford Employees denied

Plaintiffs’ surgeries for cost-cutting reasons that had no relationship to professional

medical judgment.

78.   Defendants Wexford, Funk and the Unknown Wexford Employees’ actions

caused plaintiffs to suffer needless pain and mental anguish.

WHEREFORE, Plaintiffs pray that this Court enter judgment in their favor and

against the defendants Wexford, Funk and the Unknown Wexford Employees in an

amount to be determined at trial, plus exemplary and punitive damages, costs,



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reasonable attorney’s fees and for such other and further relief as this court deems

proper.

                                        COUNT III
          (Against Defendants David, Tilden, Trost, Sood and the Unknown Doctors)
                              Cruel and Unusual Punishment

79.     Plaintiffs adopt herein by reference the allegations contained in paragraphs

1-78.

80.     The purpose of Section 1983 is to deter state actors, and private individuals

in collaboration with state officials, from using a “badge of authority” to deprive

individuals of rights guaranteed by the Constitution.

81.     Under Section 1983, governmental immunity is to be denied, and

compensatory damages awarded, when a state actor or collaborating private citizen

has acted with either an impermissible motivation or with such disregard of the

person’s clearly established constitutional rights that such action cannot reasonably

be characterized as being in good faith.

82.     A corporate defendant violates Section 1983 if, acting under color of state

law, it maintains a policy that sanctions the maintenance of prison conditions that

infringe upon the constitutional rights of the prisoners.

83.     Defendants David, Tilden, Trost, Sood and the Unknown Doctors maintained

and implemented a cost-cutting policy that ensured that plaintiffs would not receive

a relatively inexpensive surgical repair, regardless of the pain and suffering caused

by such hernias, unless the hernias were incarcerated or strangulated.




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84.     Defendants David, Tilden, Trost, Sood and the Unknown Doctors’ behavior is

sufficiently outrageous as to shock the conscience.

85.     Indeed, Defendants David, Tilden, Trost, Sood and the Unknown Doctors

denied Plaintiffs’ appeals for surgical repair of their hernias.

86.     Defendants David, Tilden, Trost, Sood and the Unknown Doctors denied

Plaintiffs’ surgeries for cost-cutting reasons that had no relationship to professional

medical judgment.

87.     Defendants David, Tilden, Trost, Sood and the Unknown Doctors’ actions

caused plaintiffs to suffer needless pain and mental anguish.

WHEREFORE, Plaintiffs pray that this Court enter judgment in their favor and

against the defendants David, Tilden, Trost, Sood and the Unknown Doctors in an

amount to be determined at trial, plus exemplary and punitive damages, costs,

reasonable attorney’s fees and for such other and further relief as this court deems

proper.

                                   COUNT IV
   (Against Defendants Lynn and the Unknown Healthcare Unit Administrators)
                         Cruel and Unusual Punishment

88.     Plaintiffs adopt herein by reference the allegations contained in paragraphs

1-87.

89.     The purpose of Section 1983 is to deter state actors, and private individuals

in collaboration with state officials, from using a “badge of authority” to deprive

individuals of rights guaranteed by the Constitution.




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90.   Under Section 1983, governmental immunity is to be denied, and

compensatory damages awarded, when a state actor or collaborating private citizen

has acted with either an impermissible motivation or with such disregard of the

person’s clearly established constitutional rights that such action cannot reasonably

be characterized as being in good faith.

91.   A corporate defendant violates Section 1983 if, acting under color of state

law, it maintains a policy that sanctions the maintenance of prison conditions that

infringe upon the constitutional rights of the prisoners.

92.   Defendants Lynn and the Unknown Healthcare Unit Administrators

maintained and implemented a cost-cutting policy that ensured that plaintiffs

would not receive a relatively inexpensive surgical repair, regardless of the pain

and suffering caused by such hernias, unless the hernias were incarcerated or

strangulated.

93.   Defendants Lynn and the Unknown Healthcare Unit Administrators’

behavior is sufficiently outrageous as to shock the conscience.

94.   Indeed, Defendants Lynn and the Unknown Healthcare Unit Administrators’

denied Plaintiffs’ appeals for surgical repair of their hernias.

95.   Defendants Lynn and the Unknown Healthcare Unit Administrators denied

Plaintiffs’ surgeries for cost-cutting reasons that had no relationship to professional

medical judgment.

96.   Defendants Lynn and the Unknown Healthcare Unit Administrators’ actions

caused plaintiffs to suffer needless pain and mental anguish.



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WHEREFORE, Plaintiffs pray that this Court enter judgment in their favor and

against the defendants Lynn and the Unknown Healthcare Unit Administrators in

an amount to be determined at trial, plus exemplary and punitive damages, costs,

reasonable attorney’s fees and for such other and further relief as this court deems

proper.

                                Demand for Jury Trial

Plaintiffs hereby request a trial by jury.

                                                        Respectfully submitted,

                                                        /s/ John J. Muldoon, III


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